Case 1:20-cv-03172-RLY-MJD Document 110 Filed 06/07/22 Page 1 of 2 PageID #: 1276




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


  TROYCE MANASSA, et al.,                              )
                                                       )
                                Plaintiffs,            )
                                                       )
                           v.                          )       No. 1:20-cv-03172-RLY-MJD
                                                       )
  NATIONAL COLLEGIATE ATHLETIC                         )
  ASSOCIATION,                                         )
                                                       )
                                Defendant.             )




                           MINUTE ENTRY FOR JUNE 2, 2022
                          TELEPHONIC STATUS CONFERENCE
                     HON. MARK J. DINSMORE, MAGISTRATE JUDGE


         The parties appeared by counsel for a telephonic Status Conference. The parties

  discussed the status of and future plans for discovery.

         This matter is scheduled for a telephonic status conference on Thursday, June 30, 2022

  at 9:30 a.m. (Eastern) to discuss case status, as well as the parties' next Supplemental Joint

  Report on the Status of Discovery, which is due June 28, 2022. Counsel shall attend the status

  conference by calling the designated telephone number, to be provided by the Court via email

  generated by the Court's ECF system.



         Dated: 7 JUN 2022
Case 1:20-cv-03172-RLY-MJD Document 110 Filed 06/07/22 Page 2 of 2 PageID #: 1277




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